Case 2:04-cV-02945-.]DB-tmp Document 14 Filed 07/26/05 Page 1 of 3 Page|D 28

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WESTERN DISTRICT oF TENNESSEE 95 JUL 26 PH |= 2b

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WD‘;__ |‘_' :"v `,.`i_': 15¢;4'.` :S
DEXTER MILLER, )
)
Plaintiff, )
)
v. ) Case No. 04-294S-BP
)
ARAMARK UNlFORl\/I & ) Jury Demand
CAREER APPAREL, INC., )
)
Defendant. )

AGREED ORDER FOR EXTENSION OF DISCOVERY DEADLINE AND
DISPOSITIVE MOTI()N DEADLINE

AS evidenced by the signatures of counsel beloW, the parties have agreed to extend the
discovery deadline through and including Friday, Septernber 16, 2005, and the dispositive motion
deadline through and including Monday, October l'/', 2005.

lt is accordingly ORDERED that the parties shall have an extension of time through and
including Friday, Septernber 16, 2005 , to complete discovery and through and including Monday,

October 17, 2005, to file dispositive motions in the above-styled action.

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ENTERED this 2 § day 0 , 2005

 

FED sTATEs DIsTRIc\§JUDGE

 

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Case 2:O4-cV-O2945-.]DB-tmp Document 14 Filed 07/26/05

APPROVED FOR ENTRY:

OGLETREE, D A S, NASH,
SMO 'K WART, P.C.
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This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02945 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

ESSEE

 

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Honorable .l. Breen
US DISTRICT COURT

